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   From ·nor about February 2013 through October 2018. In the East�rn District o' Tenn'3ssee, Weir conspired to commit
   mail andfor wire fra'Jd 1n violat•on of 18 U.S C. § 1341 and 1343.




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